Case 22-18303-JKS             Doc 142-5 Filed 08/25/23 Entered 08/25/23 12:51:44                        Desc
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)
     UNITED STATES DEPARTMENT OF JUSTICE
     OFFICE OF THE UNITED STATES TRUSTEE
     ANDREW R. VARA
     UNITED STATES TRUSTEE, REGIONS 3 AND 9
     Peter J. D’Auria, Esq. (PD 3709)
     One Newark Center, Suite 2100
     Newark, NJ 07102
     Telephone: (973) 645-3014
     Fax: (973) 645-5993
     E-Mail: Peter.J.D’Auria@usdoj.gov

                                                                       Chapter 11
     In Re:                                                            Case No. 22-18303(JKS)
                                                                       (Jointly Administered)
     Alexandre Dacosta and Viviane Antunes, et al.6,
                                                                       Hearing Date: Sept. 26, 2023 at 10:00 a.m.

     Debtors.                                                          Judge: John K. Sherwood Chapter 11


                                   CERTIFICATION OF SERVICE

1.       I, Peter J. D’Auria, Esq.

         □ represent the ______________________in the above-captioned matter.

        ■ am the Trial Attorney at the Office of United States Trustee who represents the United
States Trustee in the above captioned matter.

         □ am the ______________________ in the above case and am representing myself.

2.       On August 25, 2023, I sent a copy of the following pleadings and/or documents to the

parties listed in the chart below.

                   Motion of the United States Trustee To Convert the Case of BAV Auto, LLC to
                    Chapter 7, or in the Alternative to Dismiss the Case, Pursuant to 11 U.S.C. §
                    1112(b).



6
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
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3.     I hereby certify under penalty of perjury that the above documents were sent using the

mode of service indicated.

       Dated: August 25, 2023                      /s/ Peter J. D’Auria
                                                   Peter J. D’Auria
                                                   Trial Attorney

 Name and Address of Party Served              Relationship     Mode of Service
                                               of Party to
                                               the Case
 Alexandre J. Dacosta and                      Individual       □ Hand-delivered
 Vivianne C. Antunes                           Debtors          ■ Regular mail
 80 Columbia Avenue                                             □ Certified mail/RR
 Kearny, NJ 07032                                               □ E-mail
                                                                □ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 BAV Auto, LLC                                 Corporate        □ Hand-delivered
 80 Columbia Avenue                            Debtor           ■ Regular mail
 Kearny, NJ 07032                                               □ Certified mail/RR
                                                                □ E-mail
                                                                □ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 John O’Boyle, Esq.                            Counsel to       □ Hand-delivered
 Norgaard O’Boyle & Hannon                     Individual       ■ Regular mail
 184 Grand Avenue                              Debtors          □ Certified mail/RR
 Englewood, NJ 07631                                            ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 Steven D. Pertuz, Esq.                        Counsel to       □ Hand-delivered
 Law Offices of Steven D. Pertuz, Esq.         Corporate        ■ Regular mail
 111 Northfield, Avenue, Suite 304             Debtor           □ Certified mail/RR
 West Orange, NJ 07052                                          ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 Mark Politan, Esq.                            Subchapter V     □ Hand-delivered
 Politan Law, LLC                              Trustee          ■ Regular mail
 88 East Main Street, # 502                                     □ Certified mail/RR
 Mendham, NJ 07945                                              ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
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Joseph H. Lemkin, Esq.                   Counsel to    □ Hand-delivered
Stark & Stark                            Auction       ■ Regular mail
P.O. Box 5315                            Credit        □ Certified mail/RR
Princeton, NJ 08543                      Enterprises   ■ E-mail
                                                       ■ Notice of Electronic Filing
                                                       (NEF)
                                                       □ Other: facsimile
Drew S. McGehrin, Esq.                   Counsel to    □ Hand-delivered
Duane Morris LLP                         Vero Finance ■ Regular mail
30 S. 17th Street                        Technologies, □ Certified mail/RR
Philadelphia, PA 19103                   Inc.          ■ E-mail
                                                       ■ Notice of Electronic Filing
                                                       (NEF)
                                                       □ Other: facsimile
Regina Cohen, Esq.                       Counsel to    □ Hand-delivered
Lavin, Cedrone, Graver, Boyd & DiSipio   Westlake      ■ Regular mail
190 North Independence Mall West         Flooring      □ Certified mail/RR
Suite 500                                Services      ■ E-mail
6th and Race Streets                                   ■ Notice of Electronic Filing
Philadelphia, PA 19106                                 (NEF)
                                                       □ Other: facsimile
John R. Morton, Jr., Esq.                Counsel to    □ Hand-delivered
Morton & Craig, LLC                      Thrift        ■ Regular mail
110 Marter Avenue, Suite 301             Investment    □ Certified mail/RR
Moorestown, NJ 08057                     Corporation   ■ E-mail
                                                       ■ Notice of Electronic Filing
                                                       (NEF)
                                                       □ Other: facsimile
Douglas McDonough, Esq.                  Counsel to    □ Hand-delivered
Frenkel Lambert Weiss                    Bank of       ■ Regular mail
Weisman & Gordon, LLP                    America, NA □ Certified mail/RR
80 West Main Street, Suite 460                         ■ E-mail
West Orange, NJ 07052                                  ■ Notice of Electronic Filing
                                                       (NEF)
                                                       □ Other: facsimile
Synchrony Bank                           Creditor      □ Hand-delivered
c/o PRA Receivables Management, LLC                    ■ Regular mail
P.O. Box 41021                                         □ Certified mail/RR
Norfolk, VA 23541                                      ■ E-mail
                                                       □ Notice of Electronic Filing
                                                       (NEF)
                                                       □ Other: facsimile
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Philip Raymond, Esq.                   Counsel to     □ Hand-delivered
McCalla Raymer Leibert Pierce, LLC     JPMorgan       ■ Regular mail
485F US Highway 1 S, Suite 300         Chase Bank,    □ Certified mail/RR
Iselin, NJ 08830                       NA             ■ E-mail
                                                      ■ Notice of Electronic Filing
                                                      (NEF)
                                                      □ Other: facsimile
Donna L. Thompson, Esq.                Counsel to     □ Hand-delivered
P.O. Box 679                           Automotive     ■ Regular mail
Allenwood, NJ 08720                    Finance Corp   □ Certified mail/RR
                                                      ■ E-mail
                                                      □ Notice of Electronic Filing
                                                      (NEF)
                                                      □ Other: facsimile
